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                            INDEX OF EXHIBITS

Main Document


Exhibit A         Plaintiff’s Verified Complaint


Exhibit B         Promotional Materials, With Plaintiff’s Likeness –
                  To Be Filed Under Seal


Exhibit C         3/27/21 Notice Regarding Plaintiff’s Rights to a Hearing –
                  To Be Filed Under Seal


Exhibit D         4/20/21 Letter Requesting that Plaintiff Submit a Formal
                  Hearing Request -- To Be Filed Under Seal


Exhibit E         Plaintiff’s 4/27/2021 Hearing Request –
                  To Be Filed Under Seal


Exhibit F         Email from Surgery Scheduler Outlining Concerns --
                  To Be Filed Under Seal


Exhibit G         Doe v. Community Medical Center case


Exhibit H         Meagher v. Butte-Silver Bow City-County case


Exhibit I         Knapik v. Mary Hitchcock Mem'l Hosp. case


Exhibit J         Parks v. Ala. State Bd. Of Pharmacy (Ex Parte Ala. State Bd.
                  Of Pharmacy) case
